UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

-- “ n x
MUHAMMAD J. KAFIN, CIV NO.
PLAINTIFF DEMANDS A TRIAL
Plaintifi{s), BY JURY
-apainst- VERIFIED COMPLAINT
THE UNITED STATES OF AMERICA,
THE UNITED STATES POSTAL SERVICE and
SHELLY 8S. MCINTOSH-GARRAWAY,
Defendant(s}.
-- none --X

 

Plaintiff, MUHAMMAD J. KAHN, by his attorneys, JOSEPH R. BONGIORNO &
ASSOCIATES, P.C., as and for his Complaint against defendants, THE UNITED STATES OF
AMERICA, THE UNITED STATES POSTAL SERVICE and SHELLY S. MCINTOSH-GARRA WAY,
alleges as follows:

PARTIES

1. Plaintiff, MUHAMMAD J. KAHN, at all times mentioned herein, has resided in the County

of Kings, City and State of New York.
2. That at all times mentioned herein, the defendant, THE UNITED STATES POSTAL
SERVICE, was and still is an independent agency of the executive branch of the defendant,
THE UNITED STATES OF AMERICA.

3. That at all times mentioned herein, the defendant, SHELLY $8. MCINTOSH-GARRAWAY,
was and still is an employee of the defendants, THE UNITED STATES OF AMERICA and
THE UNITED STATES POSTAL SERVICE, acting within the furtherance of said
employment under the circumstances as alleged herein.

JURISDICTION STATEMENT

4. This Court has subject matter jurisdiction in this action pursuant to 28 U.S.C. §§ 1331,

1346(b), 2671 et. seq., 2674 et. seq., and 2675 et. seq.

5. Venue in this district is proper pursuant to 28 U.S.C. §§ 1391(e)(1)(b) and 1402(b).

 

 
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Ll.

The amount in controversy exceeds, exclusive of interest and costs, the sum of SEVENTY-
FIVE THOUSAND ($75,000.00) DOLLARS.

That on or about January 22, 2021, the plaintiff, MUHAMMAD J. KAHN, properly filed a
standard claim form for damages, injuries or death with the United States Postal Service, in
the Tri Borough District Office, at 1050 Forbell Street, Brooklyn, New York 11256. (See
Exhibit A),

On August 10, 2021, the Law Department, National Tort Center for the defendant, UNITED
STATES POSTAL SERVICE, sent a denial letter, and the instant action is commenced
within six months of their administratively denying the plaintiff, MUHAMMAD J. KAHN’s
claim. (See Exhibit B).

AS AND FOR A FIRST CAUSE OF ACTION
AGAINST THE DEFENDANTS

That at all times mentioned herein, the defendants, THE UNITED STATES OF AMERICA
and THE UNITED STATES POSTAL SERVICE, their agents, servants and/or employees,
including but not limited to the defendant, SHELLY 8. MCINTOSH-GARRAWAY, owned,
operated, maintained, controlled and/or supervised a Freightliner Box Truck bearing plate
number 3510372.

That at all times mentioned herein, the defendants, THE UNITED STATES OF AMERICA
and THE UNITED STATES POSTAL SERVICE, their agents, servants and/or employees,
including but not limited to the defendant, SHELLY S. MCINTOSH-GARRA WAY, owned,
operated, maintained, controlled and/or supervised a Freightliner Box Truck.

That at all times mentioned herein, the defendant, SHELLY $8. MCINTOSH-GARRAWAY,
operated said Freightliner Box Truck with the permission and consent, either expressed or
implied, of the defendants, THE UNITED STATES OF AMERICA and THE UNITED

STATES POSTAL SERVICE.
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That at all times mentioned herein, the defendant, SHELLY S. MCINTOSH-GARRAWAY,
operated said Freightliner Box Truck in the course of her employment with the defendants,
THE UNITED STATES OF AMERICA and THE UNITED STATES POSTAL SERVICE.
That at all times mentioned herein, Atlantic Avenue west of its intersection with Clermont
Avenue, in the County of Kings, City and State of New York, was and still is a public
roadway.

That on or about February 15, 2019, at approximately 6:13 p.m., the vehicle operated by the
defendant, SHELLY S. MCINTOSH-GARRA WAY, and owned by the defendants, THE
UNITED STATES OF AMERICA and THE UNITED STATES POSTAL SERVICE, came
into violent contact with the left front quarter panel of the vehicle operated by the plaintiff,
MUHAMMAD J. KAHN,

That the foregoing occurred by reason of the negligence, carelessness, and recklessness of the
defendants, THE UNITED STATES OF AMERICA, THE UNITED STATES POSTAL
SERVICE and SHELLY S. MCINTOSH-GARRAWAY, in the ownership, operation,
maintenance, control and/or supervision of their motor vehicle without any negligence on the
part of the plaintiff, MUHAMMAD J. KAHN, contributing thereto.

That as a result of the foregoing, the plaintiff, MUHAMMAD J. KAHN, sustained serious,
severe and protracted injuries rendering him sick, Jame and sore, and in need of medical aid
and attention.

That said injuries constitute a serious injury as defined by § 5102(d) of the Insurance Law or
economic loss greater than the basic economic loss as defined in § 5102(a) of the Insurance
Law.

That as a result of the foregoing, the plaintiff, MUHAMMAD J. KAHN, demands judgment
against the defendants, THE UNITED STATES OF AMERICA, THE UNITED STATES
POSTAL SERVICE and SHELLY S. MCINTOSH-GARRA WAY, in the sum of FIVE

HUNDRED THOUSAND ($500,000.00) DOLLARS.
19.

20.

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22.

AS AND FOR A SECOND CAUSE OF ACTION
AGAINST THE DEFENDANTS

Plaintiff, MUHAMMAD J. KAHN, repeats, reiterates and realleges each and every allegation
contained in paragraphs marked and designated “1” through “16” with the same force and
effect as if each were hereinafter set forth at length.
That at all times mentioned herein, the plaintiff, MUHAMMAD J. KAHN, was the owner of
a 2006 Toyota SW/SUV bearing New York State license plate number HYB5178.
That as a result of the foregoing negligence, carelessness and recklessness of the defendants,
THE UNITED STATES OF AMERICA, THE UNITED STATES POSTAL SERVICE and
SHELLY §. MCINTOSH-GARRAWAY, in the ownership, operation, maintenance, control,
and/or supervision of the said Freightliner Box Truck, said motor vehicle owned by the
plaintiff, MUHAMMAD J. KAHN, sustained substantial damage.
That as a result of the foregoing, the plaintiff, MUHAMMAD J. KAHN, demands judgment
against the defendants, THE UNITED STATES OF AMERICA, THE UNITED STATES
POSTAL SERVICE and SHELLY S. MCINTOSH-GARRAWAY, in the sum of ONE

THOUSAND FIVE HUNDRED ($1,500.00) DOLLARS,

WHEREFORE, the plaintiff, MUHAMMAD J. KAHN, demands judgment against the

defendants, THE UNITED STATES OF AMERICA, THE UNITED STATES POSTAL SERVICE and
SHELLY S. MCINTOSH-GARRAWAY on the First Cause of Action in the sum of FIVE HUNDRED
THOUSAND ($500,000.00) DOLLARS and on the Second Cause of Action, in the sum of ONE
THOUSAND FIVE HUNDRED ($1,500.00) DOLLARS, together with the costs, disbursements and
attorneys’ fees of this action.

Dated: Mineola, New York

October 26, 2021
Case 1:21-cv-05975-EK-JRC Document1 Filed 10/27/21 Page 5 of 33 PagelD #: 5

Yours, etc.
JOSEPH R. BONGIORNO & ASSOCIATES, P.C.
Attorneys for the plaintiff, MUHAMMAD KAHN

  

JOSEPH R. BONGIORNO, ESQ. (1832)
220 Mineola Boulevard

Mineola, NY 11501

(516) 741-2405

 
Case 1:21-cv-05975-EK-JRC Document1 Filed 10/27/21 Page 6 of 33 PagelD #: 6

VERIFICATION

STATE OF NEW YORK.)

$5.2

COUNTY OF NASSAU _ )}

JOSEPH R. BONGIORNO, being duly sworn, deposes and says:

That he is the attorney for the plaintiff, MUHAMMAD J. KAHN, in the within action.
That he has read the foregoing VERIFIED COMPLAINT and knows the contents thereof; that
the same is true to the knowledge of deponent, except as to the matters therein stated to be

alleged upon information and belief, and that as to those maters, he believes it to be true.

That the source of deponent’s information is papers and records in deponent’s possession and file.

That the reason this —_— deponent and not by said plaintiff is that the

plaintiff is not within the County where d nt mi intains his office.

JOSEPH R. BONGIQRNONS

ee, .

 

 

wegn to before me this
é/ day of October 2021

rise Upurl e

Notary Public

 

ELVIA MARISOL TERAN
NOTARY PUBLIC, STATE OF NEW YORK
NO, 0176285335
Q IN QUEENS COUNTY

UN EXPIRES i,

 
    
    

 

 
Case 1:21-cv-05975-EK-JRC Document1 Filed 10/27/21 Page 7 of 33 PagelD #: 7

 

EXHIBIT “A”
-THE LAW OFFICES OF
JOSEPH R. BONGIORNO & ASSOCIATES, P.C,
ATTORNEYS AT LAW
250 Mineola Boulevard

Mineola, N.Y, 11501
(212) 753- 8901
(516) 741-2405

(201) 493-7125
FAX: (516) 741-2554
JOSEPH R. BONGIGRNO * OF COUNSEL
7 a f . ee ‘t
*ADMITTED IN N.Y. & N.J. E-mail: JRBLAWFIRM@AQL.COM DONALD N. RIZZUTO**
** ADMITTED IN CT Hon. ALLAN JENNENGS ** rye Council 2001-2605)
, MARYLYN P. LIPMAN*
HENRY M. IERVOLINO
January 22, 2021
Overnight Delivery
United States Postal Service
Tri Borough District
1050 Forbell Street
Brooklyn, New York 11256

Attn: Maura Nunez

Re: Mohammed Kahn v. USPS
Notice of Intention to Sue

Dear Ms. Nunez:

Please find enclosed an original and one copy of a notice of Intention to Sue submitted on behalf
of our client, Méhammed Kahn relating to an automobile accident that occurred on February 5, 2019.

{ would appreciate if you could date stamp the copy and retum same in the self-addressed, stamped
envelope provided.

Thank you for your courtesy and attention to this matter.

 
   

 

Joseph R. Bongiorno

JRB/me

NEW JERSEY OFFICE: 411 Hackensack Avenue, Hackensack, New Jersey 07601
BRONX OFFICE: 2565 Frisby Avenue, Bronx, New York 10462
PLEASE RESPOND TO THE NY OFFICE
 

+

INSTRUCTIONS: Please read carefully the instructions on the
| reverse side and supply information requested on both sides of this
form. Use additional sheet(s) if necessaty. See reverse side for

additional instructions.

.
FORM APPROVED
OMB NO. 1105-0008

    
      
  
     

CLAIM FOR DAMAGE,
INJURY, OR DEATH

!

          
  
 
   
      

claimant, and claimant's personal rapresentative If any.

2, Name, address of
State and Zip code.

|. Submit to Appropriate Federal Agency:
(See instrualions on reverse), Number, Street, City,

Muhammed Khan

445 5. Portland Avenue
Brooklyn, New York 1 {247

USPS, Triborough District
4050 Forbell Street,
Brooklyn, New York 14256

  
   
  
 

  
 
 
 
  
 

6, DATE AND DAY OF ACCIDENT 7 TIME (A.M. OR P.M.)
2/15/2019 Friday 6:13 p.m.

ge, Injury, oF death, identifying persons and property involved, ihe place of occurance and

 
   
  
     

 

4, DATE OF BIRTH 5. MARITAL STATUS
4410/1954 Widowed

nfacts and circumstances aitending the dame:

4. TYPE OF EMPLOYMENT

[_] minrary CIVILIAN

8. BASIS OF CLAIM (State in detait the Know
the cause thereof. Use additional pages if necessary).

 

e west of Clermont ‘Avenue in Brooklyn, New York when the vehicle
pound on Atlantic Avenue was struck on the left front quarter panel by

fing westbound on Atlantic Avenue.

An automobile accident that occurred on Atlantic Avenu
operated by the Claimant that was ata stop facing west
a USPS vehicle operated by Shelly S. Meintosh-Garraway trave

PROPERTY DAMAGE.

a.
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Sede}.

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.

(See instructions on reverse side).
left front tire, front bumper and windshield. Claimant has vehicle at his residence.

Left front quarter panel,
, PERSONAL INJURYIWRONGFUL DEATH
STATE THE NAME

10.
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER ‘THAN CLAIMANT,
OF THE INJURED PERSON GR DECEDENT. - ,

c3-c4, C45, C5-C6 & C6-C7 disc herniations with pilateral neural foraminal narrowing; 13-14 & L4-L5 disc herniations with

nerve root impingements; postive EMG; tear of the superior labrum of the left shoulder with tendinosis & bursal fraying of the
us tendons; all are permanent in their nature and/or sequela; and have resulted in (see attached)

supraspinatus and infraspinat
WITNESSES

{tt.

NAME ADDRESS (Number, Street, ‘City, Stata, and Zip Code)
Monique White address unknown
Joan Lynch address unknown

 
  
  
     
 
          
 
 

AMOUNT OF CLAIM (in dollars)
2c, WRONGFUL DEATH

  
        
  
 

12. (Sea instructions on reverse).

(2a. PROPERTY DAMAGE

49d, TOTAL (Failure to specify may cause
forfeiture of your rights).

       

12b, PERSONAL INJURY

 
 

$501,500.00
NY ABOVE AND AGREE TO AGCEPT SAID

 
 

appx $1,500.00 500,000.00 nia
| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INGIDE AMOUNT IN

FULL SATISFACTION AND FINAL SETTLEMENT OF THIS GLAIM.
49a. SIGNATURE OF

LAIMANT {Sea instructions on reverse side).
5 SOF er
é

CIAL PENALTY FOR PRESENTING .
FRAUDULENT GLAIM

 

 

18b. PHONE NUMBER OF PERSON SIGNING FORM |14. DATE OF SIGNATURE

      
  
    
 

   
   

   

646-400-7428 1/22/2021

CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
CLAIM OR MAKING FALSE STATEMENTS

Fine, imprisonment, oF poth. (See 18 U.S.C. aa7, 1001.)

 

The claimants liable to the United States Government for a clvil penalty of not lass than
$4,000 and not more than $16,000, plus 3 times the amount of damages sustained
by the Government, (See 31 U.S.C. 2729}.

STANDARD FORM 95 (REV. 2/2007)

NSN 7540-00-634-4046
PRESCRIBED BY DEPT. OF JUSTICE
28 CFR 14.2

 

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Previous Edition is nat Usable

95-1 08
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INSURANCE COVERAGE

    
 

    

rance coverage of the vehicle ar property.

n order that subrogatian claims may be adludicated, iti

15. Do you carry accident Insurance? x Yes if yes, give name and addrass of insurance company

e following information regarding the insu

5 essential that the claimant provide th
{Number, Street, City, State, and Zip Cade) and policy number. im No

GEICO Inurance, P.O. Box 9507, Fredericksburg, VA 22403
Glaim No. 031854068-0101-088 Policy No. 4089-51-71-24 |

 
    
  

      
  
 

and if so, Is it full coverage or deductible? Yes |] No | #7.If deductible, state anourt,

 
 
 
   

46. Have you filed a claim with your insurance carrier In this instance,

no deductable
ssary that you ascertain these facts).

     

Claim was filed for personal injury protection

th reference to your claim? (It is nese

   

48, Ha claim has been filed with your carter, what action has your insurer taken or proposed to take wi

Carrier is paying medical bills incurred

   
   

State, and Zip Code). II No

 

nd address of insurance carrier (Number, Streat, City,

     

49, Do you Garry public tability and property damage insurance? rl Yes If yes, give name 4

no

 

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency" whose
#, each claimant should submit a separate

employea(s) was involved in the incident. if the incident involves more than one claiman

claim form.
Complete all items - Insert the word NONE where applicable.

FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
RED BY REASON OF THE INCIDENT.

ESENTED WHEN A FEDERAL DAMAGES IN A SUM GERTAIN
ERAL AGENCY WITHIN

ACLAIM SHALL BE DEEMED TO HAVE BEEN PRI

AGENCY RECEIVES FROM A CLAIMANT, HIS BULY AUTHORIZED AGENT, OR LEGAL INJURY, OR DEATH ALLEGED TO HAVE OCCUR

REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FED

NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY ACLAIM FOR MONEY TWO YEARS. APTER THE CLAIM ACGRUES.

Failure to completely execute this form ar to supply the raquested material within The amount claimed should be substantiated by competent evidence as fallaws:

hwo years from the date the claim accrued may render your claim invalid. A claim :

is deemed presented when it is received by the appropriate agency: not when it is (a) In support of the claim for personal Injury or death, ike claimant should submit 4

maifed. : written report by the attending physician, showing fhe nature and extent of the injury. the

. . nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the peried of hospltalization, or incapacitation, attaching itartized bills for medical,

If Instruction ts needed in completing this form, the agency fisted In item #1 on the reverse | hospital, or nurial expenses actually Incurred.

side may be contacted. Complete regulations pertaining to claims asserted under the

Federal Tort Claims Act ean be found in Title 28, Cade of Federal Regulations, Part 14. ;

Many agencles have published supplementing regulations. If more than one agency Is fb) In support of claims for damage to property, which has been of an be economically

involved, please stale’ each agency. repalred, the claimant should submit at least two itemized signed statements ar estimates
by reliable, disinterested concems, OF, if payment has been made, the Itemized signed

recelpts evidencing payment.

her legal representative, provided

4 the claim may be filled by a duly authorized agent or att
evidence satisfactory to the Government is submitted with the claim establishing express

authority to act for the claimant. ‘A claim presented by an agent or legal representative aims for damage to properly which is not economically repairable, or if

(c) In support of al
must be presented In the name of the claimant, Ifthe claim is signed by the agent or the property is lost or destrayed, the claimant shoutd submit statements as to the original
legal representative, it must show the fille or legal capacity of the person signing and be cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of hisner authority to presenta claim on behalf of the claiman after the accident. Such statements should be by disinterested competent parsons,
preferably reputable dealers or officiats familiar with the type of properly damaged, or by

as agent, axecutor, administrator, parent, quardian ar other representative. ;
: two or mare compelitive bidders, and should be certified as being just and correct,

roperty damage, the amount for
nder your slaim invalid and may result in

If claimant intends to fite far both personal injury and p
(d} Failure to specify a sum certain will re

each must be shown in item number 12 of this form.
forfeiture of your righis.
PRIVACY ACT NOTICE

ose: The Information requested is to be used in evaluating claims.

This Notice is provided in accordance with the Privacy Act, 5 U.S.C, 552ale}(3), and B. Principal Purp
ice Is attached. C. Rouline Use: See the Notices of Systems of Records for the agency to whom you are

concerns the information requested in the letter to which this Net

A. Authority: The requested Information Is solicited pursuant to one OF mare of the subraitting this form for this information.

following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 at seq. 28 CF.R. | D- Effect af Failure to Respond: Disclosure is voluntary. However, failure to supply the
te the form may render your clatyn "invalid."

Part 14. requested information or to execu
PAPERWORK REDUCTION ACT NOTICE

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e data needed, and completing and reviewing the collection of

for reducing this burden, to the Director, Torts
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of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting bu
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U.S. Depariment of Justice, Washington, DNC 20530 or te the Office of Management and Bu

This notice is solely for the purpose
response, including the time for reviewing instructions, sea
information. Send comments regarding this burden estima
Branch, Attention: Paperwork Reduction Staff, Civil Division,

form(s) to these addresses. .
STANDARD FORM 95 REV. (2/2007) BACK

 

 
inability to engage in his usual and customary daily household and

40. continued — pain and disability;
een incurred for care and treatment.

social activities. Medical bills have b

ATTACHMENTS:

{1} Police Report
(2) Medical Recor
(3) Photographs of the Vehicles

ds from AtoZ Medical Care, P.C.
627/209

AtoZ MEDICAL CARE P.C.

92-05 ROCKAWAY Bivd, 18¢ Fir.
OZONE PARK, N.Y11417
Tel: 347 475-0078

Patient: KHAN, MOHAMMAD.

CHIEF COMPLAINT:
Patient is 67 year old Male who presents with neck pain radiating to the both upper extremities.
These symptoms have been present for more than 2 months.

The study was performed to farther document, isolate and localize the level of possible lesion as
suggested by clinical symptomatology and rule out radiculopathy.

 

 

Motor Nerves

Site NR Onset Q.P Amp Segment Name Delta-O Dist Vel
(m3) (mV) ims} (cm)__(ra/s}

Loft Umar (Abd Dig Min)

Wrist 242 8.36 B Elbow-Wrist 4.53 27 39,60

B Elbow 6,55 785

Right Ulnar (Abd Dig Min}

Wrist 3.05 8.47 B Elbow-Wrist 4,45 27 60,67

B Blbow 7.50 LB

Right Median (Abd Poll Brev)

Wrist 3.83 3,73 Elbow-Wrist 6.17 26 42,14

Elbow 16.00 2.03

Left Median (Abd Poll Brev) ,

Wrist 3.67 6.74 Bibow- Wrist 5,63 26 46.18

Elbow 9,30 6.32

Sensory Nerves

Site NR Onset O-FAmp Segment Name Delta-O Dist Vet

ims), (eY) {ras) {em} {m/s}

Right Median Sen (2nd Digit)

Wrist R Wrist-2nd Digit

Left Median Sen (2nd Digit} -

Wrist NR Wrist-2nd Digit

‘Left Umar Sen (5th Digit) .

Wrist NR Wrist-Sih Digit

Right Utnar Sen (5th Bigit)
NR

Wrist Wrist-Sth Digit
one

Patient: KHAN, MOHAMMAD. Feat Date: 6/27/2019 p 2

 

 

 

 

 

PWave/HReflex
NR _ Latl Lat? Delta Amp
ius) {ms} {ras} (ph)

Loft Median-F (APB}

26.34 0.50 26.84
Left Uiner-F (ADM)

30,82 6.60 30.82
Right Madlan-¥ (APB)

2714 6.60 27.14
Right Ulnar-T (ADM)
EMG
Side Muscle Nerve Root ing Act ibs Paw Amp Der Poly Rees? int Pat Comment
Hoth Levater Scap Dorsal Scep C35 Nal ? mi Nmt Nol Nm —- Complete
Both Biceps Musculocut C3-6 Nmi 0 0 Nm Nm Nol Nmt Complete
Both  Deltoid Axillary C5-6 Ni 0 0 Nmt Nm Na Nai Complete
Both BrachloRad Radial C5-6 Nml 6 0 Nel Nal Nm Nmt Complete
Both Flex CarRad Median C7 Nml 0 d Nm Nm No Nmi Complete
Both Triceps Radial 6-7-8 Nrat G D Noi Nat Nm nm! Complete
Both CervPara C5-6 Rami C56 Nl 0 9 Nmt Nm Nm! Nil Complete
Both  CervPara C6-7 Rami C6-F Nini a 6 Nmi Nm Nml Nm Complete
Both CervPara C7-8 Rami C18 Nm 0 0 Not Nm Nm Nol Complete
SUMMARY OF FINDINGS:

The bilateral ulnar motor nerves reveated normal distal latency, normal amplitude and normal
conduction velocity. The right median motor nerve revealed normal distal latency, normal
amplitude and decreased conduction velocity, The left median motor nerve revealed normal
distal latency, decreased amplitude and decreased conduction velocity. The sensory nerve
action potentials of the bilateral median and ulnar nerves were unobtainable. The bilateral
median and ulnar P-wave latencies were normal. EMG Needle examination was performed
with a monopolar disposable needle on the muscles indicated above. Study revealed no signs of

electrical instability.

IMPRESSION:
The above electrodiagnostic study reveals evidence ofa bilateral sensorimotor median and

bilateral sensory ulnar nerves lesion,

RECOMMENDATIONS: ,
since the clinical symptoms are persistent, the patient should continue the treatment, including

physical therapy, massage, electro-stimulation, strengthening and stretching exercises, and
chiropractic manipulations. Should the symptoms persist further, a follow up neurophysinlogic
study would be useful in continuous management of this patient's case.

Lily AM, &
 

6/27/2019

 

      

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Motor

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Test Date
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Patient: KHAN, MOHAMMAD.

 
 

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Left Ulnar
6/27/2018

Test Date

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Patient

 

 

 

 

 

 

 

  

     

 

 

 

 

KHAN, MOHAMMAD.

   
  

 

       

 

 

 

 

   

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To: “s. 1O Z MEDICAL CARE, Po" Fron" Dt dages: 2

 

 

65-55 Woodhaven Blvd., Rego Park, NY, 11374
Tel: (718) 275-2200 Fax: (718) 275-7800

 

www.citimedny.com
PATIENT NAME: KAHAN, MOHAMMAD
DATE OF BIRTH: AI/AO/1951
MRN #: WD76386
DATE OF SERVICE: 06/02/2019

REFERRING PHYSICIAN: CHARLES HIGUERA, BC
MBI OF THE LUMBAR SPINE WITHOUT CONTRAST
INDICATION: Back pain, rule out HNP. |
TECHNIQUE: T1, T2 and STIR sequences of the lumbar spine were obtained.
COMPARISON: No prior studies were available for comparison at the time of dictation.
FINDINGS: The distal spinal cord is normal in signal, The conus medullaris is located at a normal level.

13-L4 and LA-L5 diffuse posterior disc bulges with moderate bilateral foraminal narrowing and mild facet
joint widening and superimposed proad-based posterior central herniations are narrowing lateral recesses,

impinging traversing LA and LS nerve roots.

The remainder of the lumbar disc levels are of normal height and hydration, demonstrating no evidence of
significant bulge or herniation.

There is no fracture or listhesis. Vertebral marrow signal is preserved.
There is normal lumbar lordosis.

IMPRESSION:

———
L3-L4 and L4-L5 broad-based posterior central acut¢ herniations and regional traversing nerve
roots impingement. — gemen me TO

Thank you for the opportunity to participate in the care of this patient. (CH)
BN iy aD

BV. REDDY, MD.
Diagnostic Radiologist and Nuclear Medicine Physician
Diplomate of ABNM and ABR.
Body/MRI and Breast Imaging Specialist
ER Radiologist - “
Page 1 of 2
Case 1:21-cv-05975-EK,JRC
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fo: “A .d Z MEDIGAL Cane pe AR! ebP 4 Bewte-2.7 of SS PagelD #: 17

 

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|
65-55 Woodhaven Blvd., Rego Park, NY, 11374

Tel: (718) 273-2200 Fax: (718) 275-7800

wwwicitimedny.com

 

PATIENT NAME: 1HAN, MOHAMMAD
DATE OF BIRTH: 11/L0/1951 |

MRN #: WDT7686

DATE. OF SERVICE: 06/02/2019

REFERRING PHYSICIAN: . CHARLES PIGUERA, DC

Signed by BV, REDDY, MD at 6/14/2019 8:12:04, PM

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Page 2 of 2
To. “A-+O Z MEDICAL CARE, PO" From: COI . ages: 2

Se

 

CitiMed

 

65-55 Woodhaven Bivd., Rego Park, NY, 11374
Tel: (718) 275-2200 Fax: (718) 275-7800
www.citimedny.com

PATIENT NAME: KHAN, MOHAMMAD
DATE OF BIRTH: 11/10/1951

MRN #: WD7686

DATE OF SERVICE: 06/02/2019

REFERRING PHYSICIAN: CHARLES HIGUERA, DC
MRI OF THE CERVICAL SPINE WITHOUT CONTRAST

INDICATION: Neck pain, rule out HNP.
TECHNIQUE: TI, T2, T2 GRE and STIR weighted sequences of the cervical spine were obtained.

COMPARISON: No prior studies were available for comparison at the time of dictation.

FINDINGS: The visualized portions of the posterior fossa are within normal limits. The craniocervical -
junction is unremarkable.

There are multilevel diffuse posterior disc bulges between C3 and C7, and with superimposed
subligamentous herniations.

Most prominent herniations are noted at C3-C4, C4-C5 , C5-C6 and C6-C7. The nnultilevel herniations
narrow the lateral recess, impinging on ventral thecal takeoff of traversing C5, C6, C7 and C8 nerve roots
respectively, with disc space narrowing and signal loss at C4-C5 and C5-C6, There is mild facet joints

widening.

Remainder of the cervical disc levels disc levels are of normal height and hydration, and show no
evidence of significant bulge or herniation.

There is no fracture or listhesis. Vertebral marrow signal is preserved. The cord signal is normal.

There is normal cervical lordosis.

IMPRESSION:

Multilevel posterior ierniationd between C3 and C7 with regional nerve root impingement as
described. Significan jlatev‘al neural foraminal narrowing predeminantly at C4-C5 and C6-C7,

Thank you for the opportunity to participate in the care of this patient..

Page Lof2
Case 1:21-cv-05975-EK JRC Document1 Filed 10/27/24
To: “a TO Z MEDIGAL CARE pe” From: ¢D1

 

yage. 19 of 33 PagelD #: 19

 

65-55 Woodhaven aBYd, Rego Park, NY, 11374
Tél: (718) 275+ 2200 Fax: (718) 273-7800

www.  citimedny.com

 

KHAN, MOHAMMAD

PATIENT NAME:

PATE. OF BIRTH: {HAO/1951 |

MRN #: WD16R6

DATE-OF SERVICE: 06/02/2019 -
REFERRING PHYSICIAN: CHARLES I HIGUERA, DE

es yt —@

BV REDDY, MD.
‘Diagnostic Radiologist.and Whickear Medicine Phys pician
‘Diplantite of ABNM and ABR:
Body/MIRE and Breast Imaging Specialist

ER Radiologist
Signed by B.V. REDDY, MD af 6/14/2019 8:12:16 PM

Page 2 of 2
to To. ’A i 2 MEDIAL CARES Po" cb d@i20NI11 Piasje Z

 

 

65-55 Woodhaven Blvd., Rego Park, NY, 11374
Tel: (718) 275-2200 Fax: (718) 275-7800
www.citimedny.com

 

PATIENT NAME: KHAN, MOHAMMAD
DATE OF BIRTH: 11/10/1951

MRN #: WD7636

DATE OF SERVICE: 06/02/2019

REFERRING PHYSICIAN: CHARLES HIGUERA, DC

MRI OF THE LEET SHOULDER WITHOUT CONTRAST
INDICATION: Pain
COMPARISON: No prior study was available for comparison at the time of dictation.
TECHNIQUE: Tl, 'y2, and PD, axial, coronal, and sagittal sequences Were obtained.
FINDINGS: - |
No os acromiale, Acromioclavicnlar joint is normal, Lateral downsloping acromion.

Tendinosis and bursal surface fraying of the supraspinatus and infraspinatus tendons, Intact subscapularis tendon,
Intact biceps tendon and biceps anchor, Tear of the superior labrum from the 10:00 to 2:00 positions.

The inferior glenohumeral ligament is intact. Teres minor tendon is normal, No muscle atrophy.
No fracture. Bone marrow signal is normal. Glenchumeral cartilage is intact.

No effusion, No subacrotnial/subdeltoid bursitis. No jntra-articular loose body.

IMPRESSION:
J. Lateral downsloping scromion.
2, Tendinosis and bursal surface fraying of the supraspinatus and infraspinatus tendons.
3. Tear of the superior labrum from the 16:00 to 2:00 positions.

‘Thank you for the opportunity to participate in the care of this patient.

Page Lof2
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Case Hed ev 098 (OI ERG nEDICAL CARE pee Eyam? CBE . esse Ql of 33 PagelD #: 21

7

 

 

65-55 Wocdhaven Blvd., Rego Park, NY, 11374
Tel: (718) 275-2200 Fax: (718) 275-7800
www.citimedny.com

 

 

PATIENT NAME: KHAN, MOHAMMAD
DATE OF BERTH: 14/10/1951

MRN #: WD7686

DATE OF SERVICE: 96/02/2019

REFERRING PHYSICIAN; CHARLES HIGUERA, DC

nee
-

PRIVESH PATEL, M.D., M.P.H.
Board Certified Diagnostic Radiologist
Musculoskeletal & Spine Imaging Specialist

Signed by PRIYESH PATEL, MD, MPH at 6/5/2019 11:46:51 AM

Pape 2 of 2
    
  
   
    
 

   
 

  
   

 

  

 

    
     

     

    

 

 
  

 
  
 
   

 

 
 

 

 

     
 

 

 

 

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- New York State Department of Motor Vehicles f {
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______| VEHICLE *- Driver State af Lic. [VEHICLE 2- Driver State cf Lic.
3 lticanse 1D Number 316272789 License ID Number 579839187 NY at |
7 Driver N il . Driver Name - exactly
~ _ [Brvecname oxeelY MCINTOSH-GARRAWAY , SHEL, 8 Diver Name ewce KHAN, MUHAMMAD, J 7
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677 EAST 91 STREET 1 145 south PORTLAND AVENUE
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City or Town City or Town State Zip Code .
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NUMBER TWO DID HIT HER TRUCK. CAUSING DAMAGE TO THE LEFT SIDE OF THE TRUCE. OPERATOR OF ce
VEHICLE TWO FURTHER STATES THAT VEHICLE TWO WAS STATIONARY PRIOR TO HER STARTING TO MALE an
THE TURN. AT TPO OPERATOR OF VEHICLE TWO STATES HE WAS FULLY STOPPED FACING W/B ON P
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Address

 

 
  

 

       
   
       

   
 

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Month
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Last Name
Highway Dist. at Scene? Clreslv] No
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Address -
- _
Telephone (Area Code} Shield No.
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ENTER INSURANCE POLICY NUMBER FROM INSURANCE IDENTIFI

Vehicle No. + Vehicle No.2 4089-51-71-24
Expiration Date : , Expiration Date 09/15/2019

VIN AUZAANCP64CL85135 VIN BTDZA23C568433213

WITNESS (Attach separate sheet, if necessary)

Name Address ,
9294319771

WHITE, MONIQUE
LYNCH, JOAN. 3474980809

DUPLICATE COPY REQUIRED FOR: .
(C1 Dept. of Motor Vehicles 1] Motor Transport Division (C] NYC Taxi & Limousine Comm. [[] Other City Agency
(if a Licensed taxi or limousine (Specify)

CATION CARD, EXPIRATION DATE (iN ALL CASES), AND VIN.

—_———

 

Phone

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(if anyone is Killedfinjured) (PD. vehicle involved)
. involved)
[1 Office of Comptroller (1 Personnel Safety Unit (1 Highway Unit
- fifa City vehicle involved) (it a P.D. vehicle involved)
is unidentified, list Missing Person Squad mumber who

 

 

 

 

NOTIFICATIONS: (Enter name, address, and relationship of friend or relative notified. If aided person §

was notified. in either case, give date and time of notification.)

PROPERTY DAMAGED (other than vehicles} OWNER OF PROPERTY (include city agency, where applicable)

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IF NYPD VEHICLE iS INVOLVED:
Rank Shield No Tax ID. No.

Last Name
Plate No.

[1] High-Level Waring Lights [(-] Traffic Cones

Police Vehicle —Operator’s First Name

Equipment in Use At Time of Accident

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ACTIONS OF POLICE VEHICLE © :
L1 Responding to Code Signal , [J Complying with Station House Directive

[] Pursuing Violator
} Other (Describe)

Assigned To What Command

     
 

Dept. Vehicle No.

  

 

Make of Vehicle

ee

[] Headlights

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LJ 4-Way Flasher

 

Oi Routine Patrol

Page 2 of 4 Pages

MV-104AN (7/11)

 
  
   

° Page 3 of 4 Pages
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Accident No.
: my-2019-088-000210

     
 
 
  
  

    
 
  
    
 

 

 

VEHICLE - Driver
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- Driver Name -exacily
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No. of
Occupants

     
 
     
 
   

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Day of Week
Year
2019 FRIDAY

VEHICLE

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V-104AN (7/41)

  

 
  

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PORT (NYC) tg

  

 
 
 
  

    
 

 

 

 

 

 

 

 

   
     
 
 
 

    
   
  
 

 
  
      

 

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4-13. SEE DIAGRAM ON RIGHT. —- 5 RIGHT TURN (SAME DIR)
14. UNDERCARRIAGE 47. DEMOLISHED z 13 i
15, TRAILER 48, NO GAMAGE "| _ 28
16, OVERTURNED 19. OTHER TEN j Gost of repairs to any one vehicle will be more than $4000. 1
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AND IS SELF INSURED.

crcPr

 

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Officer's Rank
and

  
  

  

Print Name

Mt SLOWANNI FIERRO

      

 

eS

Accident Descriptlon/Officer’s Noles ATLANTIC WH
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REPORTED AT TIME OF THI

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E. CAUSING DAMAGE TO THE LEFT SIDE Of THE FRONT BUMPER.
OPERATOR OF VEHICLE ONE STORY. NO PINS OR INJURIES COVER
VEHICLE ONE IS A UNITED STATES POSTAL SERVICE VEHICLE p

 

 

 

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my is
or?) CLERMONT AVENUE
Feat Miles LIE te]w of Milepost, NearestIntersesting Route Number or Street Name:
EN VEHICLE HUMBER ONE WAS MAKING A SHARP RIGHT TURN FROM 30

 

 

 

  

Posi/Sector Reviewing ime Reviewed
Officer
LT STEPHEN K

LEUZE

   
  
 

02/21/2019 17:95
we we oe af

PERSONS KILLED OR INJURED IN ACK -gENT (Leiter designation of persons killed or ijuréu inust correspond with fetter designation cn front).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last Name First NI. LastName First MI.
Address Address
Date of Birth _ . Telephone (Area Code} Date of Binh oS Telephone (Area Code)
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Address Address
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Month Day Year ( \ Menth Day Year ( }
Last Name First ML.
. Highway Dist. at Scene? Clres] No
. Name:
Address ,
Date of Birth Telephone (Area Code} Shield No,
Month Day Year ( }

 

 

 

ENTER INSURANCE POLICY NUMBER FROM INSURANCE IDENTIFICATION CARD, EXPIRATION DATE {IN ALL CASES), AND VIN.

 

Vehicle No. _: Vehicle No,

Expiration Date

 

-Expiration Date

 

 

 

 

 

 

 

 

 

VIN VIN

WITNESS (Attach separate sheet, if necessary)

Name Address Phohe

DUPLICATE COPY REQUIRED FOR: /

["j Dept. of Motor Vehicles [_] Motor Transport Division C1 NYC Taxi & Limousine Comm. [] Other City Agency
(if-anyone is killed/injured) _ (2D. vehicle involved) (if a Licensed taxi or limousine (Specify)

involved) . ; :

[1 Office of Comptroller [1] Personne! Safety Unit C1 Highway Unit

(if a City vehicle involved) (if a PD. vehicle involved)

 

NOTIFICATIONS: (Enter name, address, and relationship of friend or retative notified. if aided person is unidentified, list Missing Person Squad member whe

was notified. In either case, give date and time of notification.)

 

 

PROPERTY DAMAGED (other than vehicles) OWNER OF PROPERTY (include city agency, where applicable}

 

 

 

iF NYPD VEHICLE 1S INVOLVED:

 

 

 

 

 

 

 

 

 

 

 

 

Police Vehicle | —Operator's First Name Last Name Rank Shield No. Tax ID. No. Command
Make of Vehicie Year Type of Vehicle Plate No. Dept. Vehicle No. Assigned To What Command
Equipment in Use At Time of Accident

[_] Siren [7] Hom [[] Turret Light (| 4-Way Flasher [7] High-Level Waring Lights [_] Traffic Cones (Cj Headiights

 

ACTIONS OF POLICE VEHICLE

C1 Responding to Code Signal [J] Complying with Station House Directive

L] Pursuing Violator Cl Routine Patrol
| Other (Describe)

MV-104AN (7/11) Page 4 of 4 Pages
UES UD! CULE AG ese Paes WEATE- . .
to 4
Right Turn (same dir) : MV-2019-088-000210

Reporting Officer : POM JIOVANN! FIERRO
Reviewing Officer : LT STEPHEN K LEUZE Reviewed Date : 02/21/2019 17:05

 

 
 
 
 
Case 1:21-cv-05975-EK-JRC Document1 Filed 10/27/21 Page 30 of 33 PagelD #: 30

EXHIBIT “B”

 
| L (
LAW DEPARTMENT

NATIONAL TORT CENTER

UNITED STATES
E POSTAL SERVICE

CERTIFIED NO. 70206 3160 0001 3688 0823
RETURN RECEIPT REQUESTED

August 10, 2021

Vir. Joseph R. Bongiorno
Attorney at Law

250 Mineola Boulevard
Mineola, NY 11501

Re: Your Client: . Mohammed Khan
Date of Incident: February 15, 2019

Dear Mr. Bongiorno:

This is in reference to the administrative claim you filed on behalf of the above-
referenced claimant under the provisions of the Federal Tort Claims Act, as a result
of injuries allegedly sustained on or about February 19, 2019.

The Postal Service is not legally obligated to pay all losses which may occur, but
only those caused by the negligent or wrongful act or omission of an employee
acting in the scope of his/her employment. We are guided in our determination by
all the information available to us, including the reports of our personnel and any
other persons acquainted with the facts.

As to the incident at issue, an investigation of this matter failed to establish a
negligent act or omission on the part of the U.S. Postal Service or its employees.
Two independent witnesses confirm that your client pulled away from the curb and
collided with the Postal Service vehicle. While we regret any injury that may have
occurred, we cannot accept legal liability for these alleged damages.

Additionally, even if it could be said that the Postal driver was somehow negligent,
which the Postal Service adamantly denies, we do not believe that your client's
injuries are causally related to this very minor collision. Moreover, even if they are:
somehow found related, it is our opinion that based on the medical documentation
provided to date that Mr. Kahn has not suffered a "serious injury" as a result of this
accident, as that term is defined in N.Y. CLS Ins § 5102(d) (2002), such as to entitle
him to recover for non-economic loss.

For all of the foregoing reasons, this claim is denied.

1720 MARKET STREET, ROOM 2400
ST. LOUIS, MO 63156-9948

TEL: 314/345-5820

FAX: 314/345-5893
 

 

-2.

In accordance with 28 U.S.C. § 2401(b) and 39 C.F.R. 912.9(a), if dissatisfied with
the Postal Service's final denial of an administrative claim, a claimant may file suit in
a United States District Court no later than six (6) months after the date the Postal: -
Service mails the notice of that final action. Accordingly, any suit filed int S
this denial must be filed no later than six (6) months from the date of the mai ing:
this letter, which is the date shown above. Further, note the United Statesof
- America is the only proper defendant in a civil action brought pursuant to the Federal
Tort Claims Act and such suit may be heard only by a federal district court.

     
   
 
 

Alternatively, and in accordance with the regulations set out at 39 C.F.R. 912.9(b),
prior to the commencement of suit and prior to the expiration of the six (6) month
period provided in 28 U.S.C. § 2401(b), a claimani, his duly authorized agent, or
legal representative, may file a written request for reconsideration with the postal
official who issued the final denial of the claim. Upon the timely filing of a request for
reconsideration, the Postal Service shall have six (6) months from the date of filing in
which to make a disposition of the claim and the claimant's option under 28 U.S.C. §
2675(a) shall not accrue until six (6) months after the filing of the request for
reconsideration.

A request for reconsideration of a final denial of a claim shall be deemed to have

been filed when received in this office.

‘Sincerely,

Brittany Lindsay
Tort Claim Adjudicator

cc: Xiomara Nunez
Tort Claims Coordinator
File No. 110-19-00424732A
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CIV NO.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

MUHAMMAD J, KAHN,
Plaintiff(s),

- against -

THE UNITED STATES POSTAL SERVICE and SHELLY S. MCINTOSH-GARRAWAY,

Defendant(s).

 

VERIFIED COMPLAINT

 

 

 

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To Signature

    

 

Attorney(s) for

 
